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                                              ORIGINAL
                            IN THE UNITED STATES DISTRICT COURT                      M
                             FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

   UNITED STATES OF AMERICA                   §
                                              §
   V.                                         §             NO. 4:19CR /7fT
                                              §             Judge Mazzant
   CHRISTOPHER SCHRAEDER                      §
                                   FACTUAL STATEMENT

            IT IS EDEREBY STIPULATED by Christopher Schraeder ( Schraeder ),

   defendant herein, that the following facts are true and correct and that he understands and

   agrees, with express consent of his counsel, Frank Henderson, that this Factual Statement

   may be used by the Court to determine whether his plea is voluntary and knowing and by

   the probation officer and Court to determine an appropriate sentence for the offense

   which he is pleading guilty:

   a. The defend nt, Schr eder, conducted, financed, m naged, supervised.
            directed or owned all or part of a gambling business. The gambling business
            involved five or more people, namely:


            1. The defendant, Schraeder, conducted, directed and financed a sports

   betting gambling business that involved at least five other people.

            2. The gambling business violated Texas law, specifically Texas Penal Code

   §§71.02 and 47.03.

            3. The gambling business that Schraeder operated was in continuous

   operation for more than 30 days beginning on or between a date unknown in 2005 and

   February 7, 2019, and had a gross revenue of $2,000.00 or more on any single day.




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            4.       Schraeder agrees that the following property represents proceeds of the

   offense:

                     a. Schraeder will agree to forfeit the following:

                            i. $3,987.00 in gambling proceeds previously seized.
                            ii. $8,643.00 in gambling proceeds previously seized,
                            hi. $68,423.00 in gambling proceeds previously seized.


   b. Schraeder s signature and acknowledgment:


            I have read this factual statement and have discussed it with my attorney. I fully

   understand the contents of this factual statement and agree without reservation that it

   accurately describes the events and my acts.

   Dated:
                                                       CHRISTOPHER SCHRAEDER
                                                      Defendant

   c. Defendant s counsel s signature and acknowledgment:

            I have read this factual statement and have reviewed it with my client,

   Christopher Schraeder. Based upon my discussions with Schraeder, I am satisfied that

   he understands the factual statement.

   Dated:                                                    i K,/
                                                      FRANK HENDERSON
                                                      Attorney for Christopher Schraeder




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